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 BY ECF                                                                         BAREE N. FETT

 Honorable Gary R. Brown                                                        KRISTEN PERRY – CONIGLIARO
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                                                                                KEYONTE SUTHERLAND
 Re:    Jackson v. Nassau County, et al., 18 CV 3007 (JS) (GRB)
                                                                                *Also Admitted In New Jersey

 Your Honor:

         I represent plaintiff Joseph Jackson in the above-referenced wrongful conviction action.
 I write to respectfully request that the Court convene a conference to address discovery disputes
 and other issues that have arisen in this case. As set forth below, plaintiff has attempted to
 obtain the relief requested herein without Court intervention.

         By way of background, Mr. Jackson spent over twenty-three years in prison for a
 murder he did not commit. The conviction was overturned, and the indictment dismissed, on
 the motion of the Nassau County District Attorney after its own investigation revealed Brady
 violations committed by investigators in the Nassau County and Freeport police departments.
 Mr. Jackson was released in February 2018 and commenced the instant action on May 22,
 2018. After approximately ten months of delay at defendants’ request – see DE ## 12, 14, 87-
 88, 90, 125, 132, 139, 160-161 – the Court entered a Rule 16(b)(1)(A) scheduling order on
 March 22, 2019.

 Motion to Compel Discovery Responses, ADA Depositions and DA File

        Once the scheduling order was entered, plaintiff worked diligently to obtain key
 discovery in order to comply with the Rule 16 deadlines and this Honorable Court’s individual
 rules of practice (which call for early completion of core discovery in preparation for a
 settlement conference after Phase I).

        On April 2, 2019, plaintiff served defendants Nassau County and Village of Freeport
 with specific Rule 34 document requests (annexed hereto as Exhibit 1) along with notice copies
 of proposed subpoenas for testimony and documents from two critical non-party witnesses:
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 the Assistant District Attorney (“ADA”) who prosecuted plaintiff in the 1990s and the ADA
 responsible for the subsequent reinvestigation and exoneration. See Subpoenas, annexed hereto
 as Exhibit 2. Receiving no objection or other response to his April 2nd e-mail, plaintiff served
 the subpoenas on the witnesses on April 11, 2019, along with the statutory appearance fee. See
 Affidavits of Service, annexed as Exhibit 3. The depositions were scheduled to take place at the
 end of April, in advance of the Phase I discovery deadline.1

        On April 18, 2019, Nassau County e-mailed that the proposed deposition and
 document production dates were “not convenient,” without proposing alternative dates. See e-
 mail annexed hereto as Exhibit 5. Citing the Phase I deadline, the undersigned promptly
 responded seeking alternative deposition dates and a date certain for production of the DA’s
 records. But, as of this writing, no dates have been proposed for depositions or the production
 of documents.

         Indeed, plaintiff was subsequently informed by Nassau County that independent
 counsel was being retained for the ADA witnesses. See e-mail, annexed hereto as Exhibit 6.
 Plaintiff thereafter spoke with and provided documents to conflict counsel in an effort to
 obtain compliance with the subpoenas without Court intervention. See e-mail exchange,
 annexed hereto as Exhibit 7.

         Having heard nothing further (and having received no responses to plaintiff’s
 document requests of April 2nd),2 the undersigned engaged in a good faith meet-and-confer
 telephone conference with opposing counsel on May 10, 2019. It was at that time that plaintiff
 was first informed that Nassau County had reconsidered its position and no longer intended
 to retain counsel on behalf of the ADA witnesses. Plaintiff was further told that Nassau County
 would now take the position that the non-party ADAs could not be served by subpoena.

        Plaintiff respectfully submits that such conduct on the part of the Nassau County and
 Freeport defendants frustrates the fact-finding process, and that the Court should compel
 production of discovery responses (with objections waived) and compliance with plaintiff’s
 subpoenas. See Paralikas v. Mercedes Benz, LLC, 07 CV 0918 (ERK) (WDW), 2008 WL
 111186, *1 (E.D.N.Y. Jan. 9, 2008) (waiving objections to untimely discovery responses);
 Beare v. Millington, 07 CV 3391(ERK) (MDG), 2010 WL 234771, *3 (E.D.N.Y. Jan. 13,
 2010) (“Absent an improperly issued subpoena or an adequate excuse by the non-party, failure



 1
   Plaintiff indicated to opposing counsel that he would adjust the proposed deposition dates if they proved
 inconvenient. See E-mail, annexed hereto as Exhibit 4.
 2
  Shortly before its discovery responses were due, Nassau County requested a three-week extension. Plaintiff
 declined, citing the Court’s recent admonition that “no further extensions would be granted.” See e-mail
 exchange, annexed hereto as Exhibit 8.


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 to comply with a subpoena made under Rule 45 may be deemed a contempt of the court from
 which the subpoena issued.”) (citations and quotation marks omitted).

 The ADA Witnesses Present an Actual Conflict of Interest

          In its state-court recommendation that Mr. Jackson’s conviction and indictment be
 dismissed, the Nassau County District Attorney made clear that the suppressed evidence –
 which the DA’s office characterized as Brady – was discovered in the files of both the Freeport
 and Nassau County Police Departments, having never been disclosed to prosecutors or Mr.
 Jackson. See Affirmation of ADA Sheryl H. Anania, annexed hereto as Exhibit 9, ¶¶ 21-22.
 Plaintiff respectfully submits that such a conflict can only be resolved through the appointment
 of independent counsel. See Dunton v. County of Suffolk, 729 F.2d 903, 908 (2d Cir. 1984)
 amended, 748 F.2d 69 (2d Cir. 1984) (“When a potential or actual conflict of interest situation
 arises, it is the court’s duty to ensure that the attorney’s client, so involved, is fully aware of
 the nature of the conflict and understands the potential threat to the prosecution of his
 interests.”) (quoting In re Taylor, 567 F.2d 1183, 1191 (2d Cir. 1977)).

 The Grand Jury Minutes Should be Unsealed

         In order to sustain his malicious prosecution claim (and prosecute his Brady and other
 claims), plaintiff must obtain the grand jury testimony underlying his indictment. See Rothstein
 v. Carriere, 373 F.3d 275, 284 (2d Cir. 2004) (requiring plaintiff to “establish what occurred
 in the grand jury”). Such a particularized need for the sealed information is generally deemed
 sufficient to unseal the material without prior application to state court. See Exhibit 2
 (subpoena requesting, inter alia, grand jury minutes); Cruz v. Kennedy, 97 CV 4001 (KMW),
 1997 WL 839483, *2 (S.D.N.Y. Dec. 19, 1997) (“In this case, [plaintiff] issued a subpoena
 to the [New York County District Attorney], to which the NYCDA has objected. In such a
 circumstance, it is within the power of this Court to issue an order compelling production.”).

        If it should please the Court, plaintiff’s need is particularly acute here, given the
 arguments defendants have raised in opposition to his amended complaint. See, e.g.,
 Memorandum of Law in Support of Nassau County’s Motion to Dismiss, DE #168, pp. 7-10
 (arguing probable cause for prosecution).3

 A Settlement Conference Should be Convened

          The Nassau County District Attorney has admitted in court filings that a Brady
 violation caused the 23-year wrongful imprisonment of Joseph Jackson. Exhibit 9. Thus,
 liability is established. Yet rather than allowing discovery to advance or engaging plaintiff in

 3
  At a pre-motion conference on January 16, 2019, the presiding Honorable District Judge ordered that
 discovery proceed notwithstanding defendants’ motions to dismiss.


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 settlement discussions, defendants have adopted a strategy of obstruction, compounding the
 injustice. Given that the Court’s individual rules mandate a settlement conference at the close
 of Phase I discovery (which here expired April 30, 2019), plaintiff respectfully submits that a
 settlement conference with principals is appropriate.

        Accordingly, plaintiff respectfully requests a conference to address his applications that:
 1) the ADA witnesses be compelled to comply with the subpoenas forthwith on pain of
 contempt; 2) Nassau County and Freeport be compelled to respond to plaintiff’s April 2, 2019
 document requests by a date certain on pain of sanctions; 3) a Dunton hearing be conducted
 and separate counsel ordered for the ADA witnesses; 4) the grand jury minutes be unsealed
 and production compelled; and 5) a settlement conference be held at the Court’s convenience.

         Thank you for your consideration of this request.

                                              Respectfully submitted,


                                              Gabriel P. Harvis


 Encl.


 cc:     All Counsel (by ECF)




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